     Case 14-32674         Doc 69      Filed 06/23/17 Entered 06/23/17 13:11:57                 Desc Ch 12/13
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Form cxdsch23

                                   UNITED STATES BANKRUPTCY COURT
                                         Northern District of Illinois
                                              Eastern Division
                                              219 S Dearborn
                                                 7th Floor
                                             Chicago, IL 60604



In Re:
                                                               Case No. 14−32674
                                                               :
Lorenzo Keys                                                   Chapter : 13
1703 Taft Avenue                                               Judge :   Carol A. Doyle
Berkeley, IL 60163
SSN: xxx−xx−7835 EIN: N.A.




                    NOTICE OF CHAPTER 12 OR 13 CLOSED WITHOUT DISCHARGE




      All creditors and parties in interest are notified that the above−captioned case has been closed without entry of
discharge for the reason(s) indicated below. If the debtor subsequently files a motion to reopen, the reopening fee
must be paid.

    Debtor did not file Official Form 423, Certification About a Financial Management Course.

    Debtor has not certified that all domestic support obligations due have been paid.




                                                            FOR THE COURT




Dated: June 23, 2017                                        Jeffrey P. Allsteadt, Clerk
                                                            United States Bankruptcy Court
